      Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 1 of 11




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



NANCY GIMENA HUISHA-HUISHA, on behalf of
herself and others similarly situated,

                            Plaintiffs,

              v.
                                                      Civil Action No. 21-100 (EGS)
ALEJANDRO          MAYORKAS,         Secretary   of

Homeland Security, et al,



                            Defendants.


           MOTION OF ARIZONA, LOUISIANA, ALABAMA, ALASKA,
           KANSAS, KENTUCKY, MISSISSIPPI, MISSOURI, MONTANA,
          NEBRASKA, OHIO, OKLAHOMA, SOUTH CAROLINA, TEXAS,
        TENNESSEE, UTAH, VIRGINIA, WEST VIRGINIA, AND WYOMING
                      FOR A STAY PENDING APPEAL
        Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 2 of 11




                          MOTION FOR STAY PENDING APPEAL

       The States of Arizona, Louisiana, Alabama, Alaska, Kansas, Kentucky, Mississippi,

Missouri, Montana, Nebraska, Ohio, Oklahoma, South Carolina, Tennessee, Texas, Utah,

Virginia, West Virginia, and Wyoming (“Proposed Intervenor States” or “States”) hereby

respectfully move for a stay pending appeal of this Court’s November 22, 2022 judgment and

injunction (Doc. 170).1

       Now that Federal Defendants have filed a notice of appeal, see Doc. 179, Proposed

Intervenor States respectfully seek a stay pending appeal. In doing so, they recognize that this

Court has already stated that “any request to stay this Order pending appeal will be denied for the

reasons stated in the accompanying Memorandum Opinion.” Doc. 164 at 2. This Court’s

judgment, which the States seek to stay, codifies that Order. Therefore, unless the Court is

inclined to revisit that prior determination, the States recognize that this request should be denied

summarily and are asserting it to satisfy the exhaustion requirement of Federal Rule of Appellate

Procedure 8.

       To the extent that this Court is inclined to revisit its prior determination that it will deny

all requests for a stay pending appeal, however, it should grant such a stay for the reasons that

follow. It should further order highly expedited briefing so that the issue can be resolved

expeditiously.2




1
   Plaintiffs oppose this request. Federal Defendants indicated that they “do not believe it is
necessary to provide a position because the Court has already said that any motion for a stay
pending appeal will be denied.”
2
   Absent an indication that this Court intends to revisit its prior determination that no stay
pending appeal should issue, the States intend to seek an emergency stay pending appeal from
the D.C. Circuit as early as Monday, December 12.
          Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 3 of 11




                                   Reasons for Granting A Stay

          The four factors for evaluating a request for a stay pending appeal are “(1) whether the

stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding; and (4) where the public

interest lies.” Comm. on the Judiciary v. McGahn, 407 F. Supp. 3d 35, 38 (D.D.C. 2019)

(quoting Nken v. Holder, 556 U.S. 418, 434 (2009)). The States satisfy each of these four

elements.

          Proposed Intervenor States are likely to succeed on the merits. Defendants’ briefing in

opposition to summary judgment thoroughly explains why CDC’s Title 42 orders were lawful

and were not arbitrary and capricious. (Doc. 147.) And their briefing also explains why vacatur is

inappropriate here. (Doc. 160.) For those same reasons, the States are likely to succeed on the

merits.

          Proposed Intervenor States will be irreparably harmed. In other litigation related to the

federal government’s attempted termination of the Title 42 order, the States conclusively

demonstrated that the end of the Title 42 policy will have catastrophic effects on the states.

Louisiana v. CDC, 6:22-CV-00885, 2022 WL 1604901, at *4-*8, *22 (W.D. La. May 20, 2022).

For example, “DHS estimates that [illegal] ‘border crossings’ will increase from approximately

7,000 crossings per day to approximately 18,000 crossings per day after” the end of Title 42. Id.

at *5. And CDC itself has acknowledged that the “flow of migration directly impacts not only

border communities and regions, but also destination communities and healthcare resources of

both.” Id. (emphasis in original) (quoting 86 Fed. Reg. 42,828, 42,835 (Aug. 5, 2021)). For

example, higher rates of illegal border-crossing cause increased costs for Proposed Intervenor




                                                  2
        Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 4 of 11




Arizona, including 1) environmental damage when “individuals illegally crossing through the

border cut trails, trample plant life, and leave behind litter and potentially hazardous waste

including soiled clothing and excrement,” id. (cleaned up) *6; 2) law enforcement costs for

recovery and investigation of human remains of deceased border-crossers found in the desert and

for pursuits and arrests of unauthorized aliens, id.; and 3) increased health care costs. Id. Higher

rates of illegal immigration also harm Proposed Intervenor Louisiana, because “migrants coming

from the border are sometimes transporting drugs into or across Louisiana.” Id. at *7 (cleaned

up). Illegal immigration imposes similar costs on all of the States. Id. at *7-*9, *22. Thus, for the

same reasons outlined by the court in Louisiana, the States will be irreparably injured without a

stay.

        And the balance of harms and public interest also favor a stay, as set out in Louisiana. Id.

at *22-23. For example, the “States have demonstrated harm that will result from the

[termination of Title 42].... On the other hand, the impact of the CDC's Title 42 Orders on

immigration are ameliorated by certain exceptions and ‘safety valves’ in those orders. The

CDC's Title 42 Orders grant DHS discretion to except non-citizens from the impact of the orders

on a case-by-case basis. These exceptions can be triggered by consideration of significant law

enforcement, officer and public safety, humanitarian and public health interests. Defendants

concede that these exceptions have been employed throughout the period that the CDC's Title 42

Orders have been in place.” Id. at *22 (cleaned up).

        For all of these reasons, this Court should grant a stay pending appeal in the event that it

revisits its prior determination that no such stay should be granted.




                                                 3
        Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 5 of 11




Dated: December 9, 2022                    Respectfully submitted,

JEFF LANDRY                                MARK BRNOVICH
Attorney General of Louisiana              Attorney General of Arizona

/s/ Elizabeth B. Murrill                   /s/ Drew C. Ensign
ELIZABETH B. MURRILL (La #20685)           DREW C. ENSIGN
Solicitor General                          Deputy Solicitor General
J. SCOTT ST. JOHN (La #36682)              Arizona Attorney General’s Office
Deputy Solicitor General                   2005 N. Central Avenue
LOUISIANA DEPARTMENT OF                    Phoenix, Arizona 85004
JUSTICE                                    Telephone: (602) 542-5200
1885 N. Third Street                       Drew.Ensign@azag.gov
Baton Rouge, Louisiana 70804
Tel: (225) 326-6766                        Attorneys for the State of Arizona
murrille@ag.louisiana.gov
stjohnj@ag.louisiana.gov

Attorneys for the State of Louisiana




                                       4
        Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 6 of 11




STEVE MARSHALL                             DEREK SCHMIDT
Attorney General of Alabama                Attorney General of Kansas

/s/ Edmund G. LaCour Jr.                   /s/ Brant M. Laue
EDMUND G. LACOUR JR.                       BRANT M. LAUE*
Solicitor General                          Solicitor General
State of Alabama                           OFFICE OF KANSAS ATTORNEY
Office of the Attorney General             GENERAL
501 Washington Avenue                      120 SW 10th Avenue, 3rd Floor
Montgomery, Alabama 36130-0152             Topeka, KS 66612-1597
Telephone: (334) 242-7300                  (785) 368-8435 Phone
Fax: (334) 353-8400                        Brant.Laue@ag.ks.gov
Edmund.LaCour@AlabamaAG.gov
                                           Attorneys for the State of Kansas
Attorneys for the State of Alabama
                                           DANIEL CAMERON
TREG R. TAYLOR                             Attorney General of Kentucky
Attorney General of Alaska
CORI M. MILLS                              /s/ Marc Manley
Deputy Attorney General of Alaska          MARC MANLEY*
                                           Associate Attorney General
/s/ Christopher A. Robinson                KENTUCKY OFFICE OF THE
CHRISTOPHER A. ROBINSON                    ATTORNEY GENERAL
Alaska Bar No. 2111126                     700 Capital Avenue, Suite 118
Assistant Attorney General                 Frankfort, Kentucky
Alaska Department of Law                   Tel: (502) 696-5478
1031 W. 4th Avenue, Suite 200
Anchorage, Alaska 99501-1994               Attorneys for the Commonwealth of
chris.robison@alaska.gov                   Kentucky

Attorneys for the State of Alaska




                                       5
        Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 7 of 11




LYNN FITCH                                     DOUGLAS J. PETERSON
Attorney General of Mississippi                Attorney General of Nebraska

/s/ Justin L. Matheny                          /s/ James A. Campbell
JUSTIN L. MATHENY                              JAMES A. CAMPBELL*
Deputy Solicitor General                       Solicitor General
OFFICE OF THE MISSISSIPPI                      OFFICE OF THE NEBRASKA
ATTORNEY GENERAL                               ATTORNEY GENERAL
P.O. Box 220                                   2115 State Capitol
Jackson, MS 39205-0220                         Lincoln, Nebraska 68509
Tel: (601) 359-3680                            Tel: (402) 471-2682
justin.matheny@ago.ms.gov                      jim.campbell@nebraska.gov

Attorneys for the State of Mississippi         Attorneys for the State of Nebraska

ERIC S. SCHMITT                                DAVE YOST
Attorney General of Missouri                   Attorney General of Ohio

/s/ D. John Sauver                             /s/ Ben Flowers
D. JOHN SAUER                                  BEN FLOWERS
Solicitor General                               Solicitor General
JEFF P. JOHNSON                                Office of Ohio Attorney General Dave Yost
Deputy Solicitor General                       Office number: (614) 728-7511
Supreme Court Buidling                         Cell phone:     (614) 736-4938
P.O. Box 899                                   benjamin.flowers@ohioattorneygeneral.gov
Jefferson City, Missouri 65102
(573) 751-8870                                 Attorneys for the State of Ohio
John.Sauer@ago.mo.gov

Attorneys for the State of Missouri


AUSTIN KNUDSON
Attorney General of Montana

/s/ Kathleen L. Smithgall
KATHLEEN L. SMITHGALL
Deputy Solicitor General
Montana Attorney General’s Office 215 N.
Sanders St.
Helena, MT 69601 Telephone: 406-444-
2026 Kathleen.Smithgall@mt.gov

Attorneys for the State of Montana




                                           6
        Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 8 of 11




JOHN M. O’CONNOR                                 JONATHAN SKRMETTI
Attorney General of Oklahoma                     Attorney General and Reporter of Tennessee

/s/ Bryan Cleveland                              /s/ Clark Hildrabrand
BRYAN CLEVELAND*                                 ANDRÉE S. BLUMSTEIN
Deputy Solicitor General                         Solicitor General BRANDON J. SMITH
OKLAHOMA ATTORNEY GENERAL’S                      Chief of Staff
OFFICE                                           CLARK L. HILDABRAND*
313 NE 21st Street                               Assistant Solicitor General
Oklahoma City, OK 73105                          Office of the Tennessee Attorney General
Phone: (405) 521-3921                            and Reporter
                                                 P.O. Box 20207
Attorneys for the State of Oklahoma              Nashville, TN 37202-0207
                                                 (615) 253-5642
ALAN WILSON                                      Clark.Hildabrand@ag.tn.gov
Attorney General of South Carolina
                                                 Attorneys for the State of Tennessee
/s/ James Emory Smith, Jr.
JAMES EMORY SMITH, JR.                           SEAN D. REYES
Deputy Solicitor General                         Attorney General of Utah
Post Office Box 11549
Columbia, SC 29211                               /s/ Melissa A. Holyoak
(803) 734-3642                                   MELISSA A. HOLYOAK
esmith@scag.gov                                  Solicitor General
                                                 160 East 300 South, 5th Floor
Attorneys for the State of South Carolina        Salt Lake City, Utah 84114
                                                 (801) 366-0260
KEN PAXTON                                       melissaholyoak@agutah.gov
Attorney General of Texas
                                                 Attorneys for the State of Utah
/s/ Aaron F. Reitz
AARON F. REITZ*
Deputy Attorney General for Legal Strategy
LEIF A. OLSON*
Special Counsel
OFFICE OF THE ATTORNEY GENERAL
OF TEXAS
P.O. Box 12548
Austin, Texas 78711-2548
(512) 936-1700
Aaron.Reitz@oag.texas.gov
Leif.Olson@oag.texas.gov

Attorneys for the State of Texas




                                             7
        Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 9 of 11




JASON S. MIYARES                                 BRIDGET HILL
Attorney General of Virginia                     Attorney General of Wyoming

/s/ Andrew N. Ferguson                           /s/ Ryan Schelhaas
ANDREW N. FERGUSON                               RYAN SCHELHAAS*
Solicitor General                                Chief Deputy Attorney General
LUCAS W.E. CROSLOW                               OFFICE OF THE WYOMING
Deputy Solicitor General                         ATTORNEY GENERAL
OFFICE OF THE VIRGINIA ATTORNEY                  109 State Capitol
GENERAL                                          Cheyenne, WY 82002
202 North 9th Street                             Tel: (307) 777-5786
Richmond, Virginia 23219                         ryan.schelhaas@wyo.gov
(804) 786-7704
AFerguson@oag.state.va.us                        Attorneys for the State of Wyoming

Attorneys for the Commonwealth of Virginia

PATRICK MORRISEY
Attorney General of West Virginia

LINDSAY SEE*
Solicitor General
MICHAEL R. WILLIAMS
Deputy Solicitor General
OFFICE OF THE WEST VIRGINIA
ATTORNEY GENERAL
State Capitol, Bldg 1, Room E-26
Charleston, WV 25305
(681) 313-4550
Lindsay.S.See@wvago.gov

Attorneys for the State of West Virginia

* pro hac vice application forthcoming




                                             8
       Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 10 of 11




                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on behalf of
 herself and others similarly situated,

                               Plaintiffs,                 NO: Civil Action No. 21-100 (EGS)

               v.
                                                           Hon. Emmet G. Sullivan
 ALEJANDRO          MAYORKAS,           Secretary   of
                                                           Oral Argument Requested
 Homeland Security, et al,



                               Defendants.

                                     PROPOSED ORDER

       The Matter came before the Court on December 9, 2022 on the Proposed Intervenor

States’ Emergency Motion for Stay Pending Appeal. The Court being fully advised in the

premises, IT IS HEREBY ORDERED that Plaintiff’s Motion is GRANTED. This Court’s

November 22 judgment, which vacated and permanently enjoined the Title 42 policy, is hereby

stayed pending resolution of Federal Defendants’ appeal.

IT IS SO ORDERED.

                                                    ENTERED:

                                                    By the Court:

Date:________________                               ___________________________________
                                                    Hon. Emmet G. Sullivan
                                                    United States District Judge
       Case 1:21-cv-00100-EGS Document 183 Filed 12/09/22 Page 11 of 11




                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 9, 2022, I electronically transmitted the attached

document to the Clerk’s office using CM/ECF System for filing. Notice of this filing is sent by

email to all parties by operation of the Court’s electronic filing system.



                                                      /s/ Drew C. Ensign
